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 ROBERT N. SNYDER, JR. CPA
 SHARER PETREE BROTZ & SNYDER
 1103 Laurel Oak Road
 Suite 105B
 Voorhees, New Jersey 08043
 (856) 435-3200
 Accountant for the Chapter 11Trustee
 __________________________________

                                  UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF NEW JERSEY

 IN RE:    SUPOR PROPERTIES BERGEN              : Case No.: 23-15758\SLM
           AVENUE LLC                           :
                                                :
              Debtor(s)                         : Chapter 7
                                                :
 ______________________________________________ : Hearing Date: 04/16/24 @ 2:30PM

                           APPLICATION FOR FINAL COMPENSATION FOR THE
                             ACCOUNTANT FOR THE CHAPTER 11 TRUSTEE
                              FOR THE PERIOD 12/01/23 THROUGH 03/07/24
                                     AMOUNT SOUGHT $6,474.50
                                       AND EXPENSES $12.80

 TO:      The Honorable Stacey L. Meisel
          U. S. Bankruptcy Court

          AND CREDITORS AND PARTIES IN INTEREST AS PROVIDED IN NOTICING
                      BY THE CLERK OF THE U.S. BANKRUPTCY COURT

          The Petition of Robert N. Snyder, Jr., CPA, respectfully represents:

          1. I am a Certified Public Accountant in the State of New Jersey and Pennsylvania under the firm

 name SHARER PETREE BROTZ & SNYDER, with offices located at 1103 Laurel Oak Road, Suite 105 B,

 Voorhees, New Jersey 08043, and was duly appointed by an Order of this Court, as Certified Public

 Accountant for the Chapter 11 Trustee.

          2. All of the services for which compensation is requested were performed for and on behalf of the

 Trustee, and not on behalf of anyone else.

          3. Considering the time, the results accomplished, your applicant believes that a reasonable fee for

 services rendered as accountant for the Trustee is in the sum of $6,487.30.

          4. Applicant has received no payments nor promises for payments from any source for services

 rendered or to be rendered in any capacity whatsoever in connection with this case and there is no

 agreement or understanding between your applicant and any other person for the sharing of compensation to

 be received for services rendered in this case.
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         5. Attached as Exhibit “A”, is a schedule of the services rendered, the dates for each service, the

 identity of the person rendering the service, a description of the services rendered, and the time spent in

 rendering the service and the normal billing rate of the person rendering the service.

        Telephone calls and correspondence with trustee re: case background, issues, competing plans,
         strategy and related matters

        Review docket, claims register, petition, schedules and statement of financial affairs filed by
         debtor in preparation for case work

        Review disclosure statements and plans filed by secured creditor and debtor; review
         supplemental pleadings and joint disclosure statement and plan of liquidation, supporting
         documents and related consent orders

        Review monthly operating reports filed by debtor for July – November 2023

        Review report of investigation filed by trustee

        Correspondence, call and voicemail with prior accountants regarding documents needed for
         records review and monthly operating report preparation; review correspondence received from
         counsel detailing response from DIP accountant; related correspondence with trustee and
         counsel regarding records issues

        Review confirmation order; review correspondence from trustee regarding plan effective date and
         related transition

        Correspondence with trustee regarding US Trustee fee calculations; related followup

        Draft notes to trustee and trustee’s assistant for information needed for monthly operating report
         preparation; review cash receipts and disbursements registers received and bank statements;
         followup regarding additional information as needed; prepare monthly operating reports for
         December 2023, January 2024 and February 2024; draft notes to report and compile supporting
         documents; convert file to fileable format; forward to trustee for approval and signature; file
         related reports


         6. Services rendered were essential to the Trustee's administration. The rate charged is the same

 rate that was charged to non-bankruptcy clients. To the extent the services of other members and associates

 of the firm are utilized, their hourly billing rates are consistent with the rates of those accountants listed above

 who have similar experience and seniority.


         7. Accordingly, Petitioner prays that an Order be entered authorizing compensation to the

 accountant in the amount of $6,474.50 and expenses $12.80.

                                                                                   /s/ Robert N. Snyder, Jr., CPA


 Dated: 03/13/24
